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UNITED STATES DISTRICT COURT

soUTHERN DISTRICT oF INDIANA 13 J;.\:,; 57 PH h. 07
INDIANAPoLls DlvlsIoN ` '
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_c;,.', gaf n_
UNITED sTArEs oF AMERICA, ) §§ ` § ' " "
)
Plaintiff, )
)
v. ) CAUSE No.
)
BENJAMINERNEST BULRISS, ) 1 , 18 er 0 0 14
) ‘ ' ' JMS -
Defendant. ) § DML
MEM
M_l
(Wire Fraud)

18 U.S.C.§ 1343
The Grand Jury charges that:

On or about November 25, 2017, through and including December 18, 2017, in the
Southem District of lndiana, BENJAMIN ERNEST BULRISS, defendant herein, devised a
scheme to obtain money ($15,000) from VICTIM l by false and fraudulent pretenses,
specifically false representations about the existence of compromising photographs of VICTIM

l, Which Were communicated to VICTIM l.

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ln furtherance of said scheme, on or about November 25, 2017, the defendant caused an
interstate signal to travel from outside the state of Indiana to Indiana.

All in Violation of Title 18, United States Code, Section 1343.

A TRUE BILL:

 

JOSH J. MINKLER
United States Attomey

/
By: M

/Bradley P. Shepard
Assistant United States Attorney

